309 F.3d 1209
    Christine L. MILLER; Guardian Ad Litem; Tonnie Savage, Guardian Ad Litem, Plaintiffs-Appellees,v.Nancy GAMMIE; Fran Zito, Defendants-Appellants, andNevada Child and Family Services Department; Nevada Child Welfare Division; State of Nevada; Volunteers of America of Nevada, Defendants.
    No. 01-15491.
    United States Court of Appeals, Ninth Circuit.
    November 6, 2002.
    
      Before: SCHROEDER, Chief Judge.
    
    ORDER
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3. The three-judge panel opinion shall not be cited as precedent by or to this court or any district court of the Ninth Circuit, except to the extent adopted by the en banc court.
    
    